At the May term for 1837 of the Circuit court of Henrico county, James Crawford recovered a judgment, in an action ofdetinue against William Williamson, for two slaves, each valued at 700 dollars, and also for 100 dollars damages for detention of the slaves, and his *Page 203 
costs. No proceedings seem to have been taken upon this judgment until March 1843, when the plaintiff sued out ascire facias to revive it, returnable to the v. April rules. On this writ the sheriff returned that the defendant did not reside in his county, nor was found in his bailiwick; but as he was informed he was absent from the Commonwealth, and had no known attorney therein.
At the April rules the plaintiff sued out an alias
writ of scire facias against the defendant, returnable to the May rules: and upon this writ the sheriff made the same return as on the first.
At the May rules, the alias writ having been returned, the clerk entered up a judgment by default against the defendant, according to the writ: and at the next term of the Court, which commenced in the same month, this office judgment was confirmed, and there was a judgment as of the last day of the term, against the defendant, for the two slaves or their alternative value, with the damages and costs of the original action, and also the costs of this proceeding. To this judgment, Williamson obtained asupersedeas from this Court.
The practice of the English courts, in relation to writs ofscire facias for the renewal of judgments, as *Page 204 
well as other matters of practice, came to us on the settlement of the country, and has prevailed here, so far as adapted to the organization of our Courts, and compatible with our own legislation. By that practice, execution was awarded on the return of two nihils, and it was recognized by our act of 1792, (1 Rev. Code, ch. 128, § 65, p. 505,) but was restricted by that act to cases where the defendant resided in the county, or where he was absent from the Commonwealth, and had no known attorney therein. By the act of 1831, (Supp. Rev. Code, p. 258,) upon the affidavit therein prescribed being made and filed, service of thescire facias was authorized, where the defendant was out of the Commonwealth, upon his agent or attorney in fact, or by publication in some newspaper as therein provided for. But this last mentioned act is permissive only, and in no wise abolishes the previously existing practice. The purpose of the writ of scire facias is to give notice to the defendant of an application for award of execution, which cannot be had without an order to that effect, where execution had not been sued out upon the judgment within a year and a day: and the order is made in Court, or at the rules, upon due return of the process, unless good cause can be shewn to the contrary; and it is not a proceeding which requires a declaration or a rule to plead. The default of the defendant in not appearing to shew cause, is a sufficient foundation for award of execution, which if made at the rules, and not set aside at the next succeeding term, becomes a final judgment of the last day of the term. The provisions of the 6th section of ch. 170 of the New Code, are not applicable to the present case, which occurred before the same took effect.
It seems, therefore, to the Court, that there is no error in the judgment of the Circuit court: and it is considered that the same be affirmed, with costs to the defendant in error. *Page 205 